77 F.3d 490
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Gary Victor DUBIN, Defendant-Appellant.
    No. 95-10040.
    United States Court of Appeals, Ninth Circuit.
    Dec. 22, 1995.
    
      Before:  FLETCHER, POOLE, and O'SCANNLAIN, Circuit Judges.
    
    ORDER
    
      1
      Appellant Gary Victor Dubin's December 11, 1995 motion for leave to request release sua sponte is DENIED.
    
    